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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                      UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
            UNITED STATES OF AMERICA                                JUDGMENT IN              ACRl:rU:nJ1XL~Ai~ 4: 02
                                 v.                                 (For Offenses Committed On or After November 1;" 198:r" ..'.
                 EMEDG.SIDAROS(lO)                                                                             .     ~07
                                                                       Case Number:         13CR2196-JLS
                                                                                                                          D[DUTY

                                                                    JENNIFER J. WIRSCHING
                                                                    Defendant's Attorney
REGISTRATION NO.                 65077112
o
181 pleaded guilty to count(s)         TWO OF THE SUPERSEDING INDICTMENT

o was found gUilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                   Nature of Offense                                                                  Number(s)
18 USC 1955                       ILLEGAL GAMBLING BUSINESS                                                             2




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
181 Count(s)     (remaining counts)                           are         dismissed on the motion of the United States.

181   Assessment: $100.00 imposed



t)SOf. Fine imposed
            imposed                   181 Forfeiture pursuantto order filed                4/1012014                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    July 11. 2014
                                                                    Date of Imposition of Sentence




                                                                                                                     13CR2196-JLS
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                                                                     PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS


        The defendant shall report to the probation office within 72 hours from the date of sentencing.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of probation, unless otherwise ordered by court.

o            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
             substance abuse. (Check, if applicable.)
1:81         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
             The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
1:81
             Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
             The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
             resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o            The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such
        fine or restitution in accordance with the Schedule of Payments set forth in this judgment.
            The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
        with any special conditions imposed.
                                              STANDARD CONDITIONS OF PROBATION
        1)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
        2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
        3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        4)  the defendant shall support his or her dependents and meet other family responsibilities;
        5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
            reasons;
        6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
        7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
            any paraphernalia related to any controlled substances, except as prescribed by a physician;
        8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered;
        9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
            unless granted pennission to do so by the probation officer;
        10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
            observed in plain view of the probation officer;
        11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
        12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the permission of
            the court; and
        13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
            personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
               with such notification requirement.




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                               SPECIAL CONDITIONS OF PROBATION

   L Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
     Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
     or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
     revocation; the defendant shall warn any other residents that the premises may be subject to searches
     pursuant to this condition.

   2. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
      lines of credit without approval of the probation officer.

   3. Provide complete disclosure of personal and business financial records to the probation officer as
      requested.

   4. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period up to 180
      days (punitive).

   5. Not loiter or visit any place where gambling is the primary business/function and not engage in any
      gambling activity.

   6. Defendant may participate in the World Series of Poker.




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                                                  FINE

The defendant shall pay a fine in the amount of     $15,000                   unto the United States of America.




This sum shall be paid    IZI   as follows:

Pay a fine forthwith in the amount of $15,000 through the Clerk, U.S. District Court at the rate of 10% of the
defendant's income, or $500.00 per month, whichever is greater. These payment schedules do not foreclose the
United States from exercising all legal actions, remedies, and process available to it to collect the fine judgment
at any time.

Until fme has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.




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